           Case 18-50346-sms             Doc 15       Filed 01/15/18 Entered 01/15/18 06:05:30                     Desc Main
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE NORTHERN DISTRICT OF GEORGIA

In RE:             ADRIAN STAFFORD VERWAYNE                           §          Case Number:         18-50346-BE -13
                                                                      §
                   Debtor(s)                                          §          Chapter:        13

                                       REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                PLEASE TAKE NOTICE THAT BMW Financial Services NA, LLC hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), AIS Portfolio Services, LP hereby requests that:
                (i)          all notices given or required to be given in the case; and
                (ii)         all pleadings and correspondence served or required to be served in this case,
         regarding BMW Financial Services NA, LLC should be directed to AIS Portfolio Services, LP at the following mailing
         address effective immediately:

                Attn: BMW Financial Services NA, LLC Department
                AIS Portfolio Services, LP
                Account: XXXXXX5538
                4515 N Santa Fe Ave. Dept. APS
                Oklahoma City, OK 73118

                 This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                      Respectfully submitted,

                                                                      /s/ Bhagwati Barot
                                                                      Bhagwati Barot
                                                                      Claims Processor
                                                                      Bankruptcy Servicer for BMW Financial Services NA, LLC
                                                                      AIS Portfolio Services, LP
                                                                      4515 N Santa Fe Ave. Dept. APS
                                                                      Oklahoma City, OK 73118
                                                                      (817)277-2011, Fax (817) 461-8070
                                                                      ecfnotices@ascensioncapitalgroup.com
                                                                      File # 1182557
